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       C18602 DPW:rc
       DiFRANCESCO, BATEMAN, COLEY,
       YOSPIN, KUNZMAN, DAVIS & LEHRER, P.C.
       David P. Wadyka (DW 0179)
       15 Mountain Boulevard
       Warren, New Jersey 07059
       Attorney for Defendant Jonathan Lanza


       UNITED STATES OF AMERICA :                 UNITED STATES DISTRICT COURT
                                                  DISTRICT OF NEW JERSEY
                            Plaintiff,

      v.                                              CRIMINAL ACTION
      ANDREW MEROLA, et als,             :        Indictment No. 08-327

                            Defendants, :                CONSENT ORDER


             This matter having been opened to the Court upon the application of David P.

      Wadyka, Esq., counsel for defendant Jonathan Lanza, with the consent of Assistant

      United States Attorney, Bohdan Vitvitsky, and with the consent of PreTrial Services and

      for good cause shown,

            IT IS, on this ‘79 day of March, 2010

            ORDERED that defendant Jonathan Lanza be permitted to take a vacation trip to

      Puerto Rico from April 25, 2010 to May 1, 2010.




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       on nt       ‘        form and substance.


      David P adyka
      For Defendant Jonathan Lanza

      Dated: March C, 2010
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